Case 1:21-cv-06995-PKC Document 226-6 Filed 04/15/22 Page 1 of 3




                             EXHIBIT D

       Summary of Compensation Requested for Application Period

                              (Attached)
                                                        COMPENSATION SOUGHT BY REED SMITH LLP
                                                         NOVEMBER 9, 2021 THROUGH MARCH 31, 2022

                                  Nov-21                     Dec-21                    Jan-22                      Feb-22                    Mar-22                      Total
     Professional
                         Hours         Fees         Hours         Fees        Hours         Fees          Hours         Fees        Hours         Fees          Hours            Fees
Kurt F. Gwynne            31.60      $33,338.00      44.90       $47,369.50    26.20      $29,475.00       37.40       $42,075.00    22.80       $25,650.00     162.90       $177,907.50
Mark S. Hersh              0.00             $0.00     2.90        $2,639.00     0.00              $0.00     0.00            $0.00     0.00              $0.00     2.90            $2,639.00
Christopher A. Lynch       0.00             $0.00    35.80       $31,504.00    13.50      $12,622.50       16.60       $15,521.00    15.50       $14,492.50      81.40           $74,140.00
Rizwan (Rizzy) Qureshi     0.00             $0.00     4.80        $3,888.00     8.60       $8,170.00       16.90       $16,055.00    12.80       $12,160.00      43.10           $40,273.00
Brian M. Schenker          0.00             $0.00     0.00            $0.00    25.00      $19,500.00        0.00            $0.00     0.00              $0.00    25.00           $19,500.00
Jason D. Angelo           35.40      $21,417.00     117.80       $71,269.00    93.30      $64,843.50       64.10       $44,549.50    66.40       $46,148.00     377.00       $248,227.00
Derek M. Osei-Bonsu        0.00             $0.00     0.00            $0.00     0.00              $0.00     3.90        $2,242.50     0.00              $0.00     3.90            $2,242.50
Kathryn M. Bayes           0.70            374.50    $0.00            $0.00     0.90             553.50    $0.00            $0.00     0.50            $307.50     2.10            $1,235.50
Justin W. Angotti          0.00             $0.00     2.60        $1,235.00    23.40      $12,402.00       33.60       $17,808.00    16.00        $8,480.00      25.40           $15,113.00
Emily C. Costantinou       0.00             $0.00    14.10        $6,415.50    10.80       $5,454.00        0.00            $0.00     0.00              $0.00    24.90           $11,869.50
Austin D. Skelton          0.00             $0.00     0.00            $0.00     0.00              $0.00     0.00            $0.00     2.50        $1,337.50       2.50            $1,337.50
Jonathan S. Barrera        0.00             $0.00     0.00            $0.00     0.70            $416.50    12.00        $7,140.00    12.70        $7,556.50      75.60           $39,925.00
Shelley H. Kelly           0.00             $0.00     0.00            $0.00     6.30       $2,961.00        0.00            $0.00     0.00              $0.00     6.30            $2,961.00
Jen A. Marcolini           0.00             $0.00     0.00            $0.00     0.00              $0.00     3.60        $1,422.00    16.50        $6,517.50      20.10            $7,939.50
Christopher LauKamg        2.90       $1,015.00      39.60       $13,860.00     9.00       $3,375.00       30.40       $11,400.00    16.20        $6,075.00      98.10           $35,725.00
Sherri L. Lauritzen        3.30       $1,155.00       0.00            $0.00     0.00              $0.00     0.00            $0.00     1.30            $500.50     4.60            $1,655.50
Shikendra B. Rhea          3.90       $1,150.50       0.00            $0.00     0.00              $0.00     0.00            $0.00     0.30             $94.50     4.20            $1,245.00
Todd R. Fairman            0.00             $0.00     0.00            $0.00     0.00              $0.00   142.50       $42,750.00   186.80       $56,040.00     329.30           $98,790.00
Sharon A. Doherty          0.00             $0.00     0.00            $0.00     0.00              $0.00   125.80       $31,450.00   149.50       $37,375.00     275.30           $68,825.00
Victoria Lee               0.00             $0.00     0.00            $0.00     0.00              $0.00   120.20       $30,050.00   160.40       $40,100.00     280.60           $70,150.00
John Muir                  0.00             $0.00     0.00            $0.00     0.00              $0.00   110.60       $20,461.00   142.90       $26,436.50     253.50           $46,897.50
Arbaaz Rao                 0.00             $0.00     0.00            $0.00     0.00              $0.00    93.70       $17,334.50   146.90       $27,176.50     240.60           $44,511.00
                                                                                                                                                                                              Case 1:21-cv-06995-PKC Document 226-6 Filed 04/15/22 Page 2 of 3




Adrienne E. Johnson        0.00             $0.00     0.00            $0.00     0.00              $0.00    84.90       $14,008.50   181.70       $29,980.50     266.60           $43,989.00
Alexander N. Alioto        0.00             $0.00     0.00            $0.00     0.00              $0.00   123.30       $20,344.50   148.40       $24,486.00     271.70           $44,830.50
                               Nov-21                    Dec-21                    Jan-22                      Feb-22                      Mar-22                      Total
     Professional
                      Hours         Fees        Hours         Fees        Hours         Fees         Hours          Fees        Hours           Fees        Hours              Fees
Lance V. McFadden       0.00            $0.00     0.00            $0.00     0.00            $0.00     127.30       $21,004.50    154.50        $25,492.50    281.80            $46,497.00
Frank V.G. Arcuri       0.00            $0.00     0.00            $0.00     0.00            $0.00     119.60        $9,568.00    154.50        $12,360.00    274.10            $21,928.00
Andrew R. Smith-
                        0.00            $0.00     0.00            $0.00     0.00            $0.00     121.50        $9,720.00    154.50        $12,360.00    276.00            $22,080.00
Hoffman
William L. Puchnick     0.00            $0.00     0.00            $0.00     0.00            $0.00     123.00        $9,840.00    121.70         $9,736.00    244.70            $19,576.00
TOTALS:                84.80      $63,367.50    265.70      $180,193.00   219.10     $160,403.50     1511.40      $384,899.00   1,885.30      $430,862.50   3,954.20     $1,212,009.50


                                                                                                    Grand Total:                                    $1,212,009.50
                                                                                                    Attorney Compensation:                          $1,165,444.50
                                                                                                    Total Attorney Hours:                           3,827.20
                                                                                                    Non-Attorney Compensation:                      $46,565.00
                                                                                                    Total Non-Attorney Hours:                       127.00
                                                                                                    Blended Rate (All Timekeepers):                 $385.43
                                                                                                                                                                                            Case 1:21-cv-06995-PKC Document 226-6 Filed 04/15/22 Page 3 of 3




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